PROB 22                                                                                                        DOCKET NUMBER (Ti-an. Court)
(Rev. 2/88)
                                                                                                               0650 3:17CR00180 - 1
                               TRANSFER OF JURISDICTION
                                                                                                               DOCKET NUMBER (Rec. court)



NAME AND ADDRESS OF PROBATIONER/SUPERVISED RELEASEE:                  DISTRICT                                 DIVISION
                                                                      Middle District of Tennessee             NASHVILLE

 Nicholas Tuggle                                                      NAME OF SENTENCING JUDGE

                                                                      Hon. Waverly D. Crenshaw Jr., Chief U.S. District Judge
                                                                      DATES OF PROBATION/SUPERVISED            FROM               TO
                                                                      RELEASE:
                                                                                                               03/21/2018          03/20/2021

OFFENSE


 Theft of Government Property; 18:641.17; Class C Felony


  PART 1- ORDER TRANSFERRING JURISDICTION

 UNITED STATES DISTRICT COURT FOR THE MIDDLE DISTRICT OF TENNESSEE


           IT IS HEREBY ORDERED that pursuant to 18 U.S.C. 3605 the jurisdiction of the probationer or
 supervised releasee named above be transferred with the records of the Court to the United States District Court for
 the       Western District of Tennessee        upon that Court's order of acceptance of jurisdiction. This Court hereby
 expressly consents that the period of probation or supervised release may be changed by the District Court to which
 this transfer is made without further inquiry of this Court.*




                AJ        3
        D Ite                                                                    Chief U.S. Dis i       idge



 *This sentence may be deleted in the discretion of the transferring Court.

 PART 2 - ORDER ACCEPTING JURISDICTION

 United States District Court for the WESTERN DISTRICT OF TENNESSEE



           IT IS HEREBY ORDERED that jurisdiction over the above-named probationer/supervised
   releasee be accepted and assumed by this Court from and after the entry of this order.




         Effective Date                                                           U.S. District Judge




                                                                                                               Assigned Officer Initials   (AW)




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